Case 1:05-cr-10051-.]DT Document 10 Filed 08/16/05 Page 1 of 2 PagelD 11

|N THE UNITED STATES DlSTR|CT COURT
FOR THE WESTERN DlSTR|CT OF TENNESSEE HLED BY DC
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P|aintiff, i.\,Li;RI’{,fl§ ft'~“ff“‘(‘ (}O;J_ip_r

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V. Cr. NO. 05-1005`| -T/Ah

 

UN|TED STATES OF AN|ER|CA,

   

Danny Bernard Davis,

Defendant.

 

ORDER ON ARRA|GNMENT

 

This cause came to be heard on August 16, 2005. The Assistant United States Attorney
appeared on behalf of the government, and the defendant appeared in person and with the
following counsel, who is appointed:

NAl\/lE: Dianne Smothers, Asst. Federa| Defender
ADDRESS:

TELEPHONE:

The defendant, through counse|, waived formal arraignment and entered a plea of not
guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extendedl

The defendant, who is not in custody, may stand on his/her present bond.

L/ The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held without bond pursuant to BR_A of 1984), is remanded to the custody of the

 

 

U.S. l\/larsha|.
/ dues )
S. THO|V|AS ANDERSON
United States N|agistrate Judge
Charges: unlawful transport of firearms

Assistant U.S. Attorney assigned to case: Powe|l
Ru|e 32 was not waived.

Defendant's age: §§

This document entered on the docket sheet in compliance
with Rule 55 and/or 32{b) FRCrP on

 

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This notice confirms a copy of the document docketed as number 10 in
case 1:05-CR-10051 Was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

lackson7 TN 38301

.1 ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

lackson7 TN 38301

Honorable .1 ames Todd
US DISTRICT COURT

